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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE
------------------------------------------------------------ x
                                                             :
In re                                                        :        Chapter 11
                                                             :
PHOENIX SERVICES TOPCO, LLC, et al., :                                Case No. 22-10906 (MFW)
                                                             :
                  Debtors.1                                  :        (Jointly Administered)
                                                             :
                                                             :        Obj. Deadline: May 2, 2023 at 4:00 p.m. (ET)
                                                                      Hearing Date: May 9, 2023 at 3:00 p.m. (ET)
                                                             :
------------------------------------------------------------ x

          MOTION OF DEBTORS FOR ENTRY OF ORDER (I) APPROVING
              PROPOSED DISCLOSURE STATEMENT AND FORM AND
               MANNER OF NOTICE OF DISCLOSURE STATEMENT
           HEARING, (II) ESTABLISHING SOLICITATION AND VOTING
          PROCEDURES, (III) SCHEDULING CONFIRMATION HEARING,
        (IV) ESTABLISHING NOTICE AND OBJECTION PROCEDURES FOR
    CONFIRMATION OF PROPOSED PLAN, AND (V) GRANTING RELATED RELIEF

                    Phoenix Services Topco, LLC and its debtor affiliates in the above-captioned

chapter 11 cases, as debtors and debtors in possession (collectively, the “Debtors,” and together

with their non-Debtor affiliates, the “Company”), respectfully represent as follows in support of

this motion (the “Motion”):

                                                   Background

                    1.    On September 27, 2022 (the “Petition Date”), the Debtors each

commenced with this court (the “Bankruptcy Court”) a voluntary case under chapter 11 of title

11 of the United States Code (the “Bankruptcy Code”). The Debtors’ chapter 11 cases are being




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     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
     number, are: Phoenix Services Topco, LLC (4517); Phoenix Services Parent, LLC (8023); Phoenix Services
     Holdings Corp. (1330); Phoenix Services International LLC (6493); Metal Services LLC (8793); Terracentric
     Materials LLC (0673); Cool Springs LLC (8687); Metal Services Investment LLC (2924); and Phoenix
     Receivables, LLC (not applicable). The Debtors’ mailing address is 4 Radnor Corporate Center, Suite 520, 100
     Matsonford Road, Radnor, Pennsylvania 19087.



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jointly administered for procedural purposes only pursuant to Rule 1015(b) of the Federal Rules

of Bankruptcy Procedure (the “Bankruptcy Rules”) and Rule 1015-1 of the Local Rules of

Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District of

Delaware (the “Local Rules”). The Debtors are authorized to continue to operate their business

and manage their properties as debtors in possession pursuant to sections 1107(a) and 1108 of the

Bankruptcy Code.

                    2.    On October 11, 2022, the Office of the United States Trustee for the District

of Delaware (the “U.S. Trustee”) appointed an official committee of unsecured creditors in these

chapter 11 cases, which was reconstituted on October 18, 2022 (Docket Nos. 127, 148)

(the “Creditors’ Committee”). No request for the appointment of a trustee or examiner has been

made in these chapter 11 cases.

                    3.    Information regarding the Debtors’ business, capital structure, and the

circumstances leading to the commencement of these chapter 11 cases is set forth in (a) the

Declaration of Robert Richard in Support of Debtors’ Chapter 11 Petitions and First Day Relief

(Docket No. 13) (the “First Day Declaration”),2 which was filed with the Bankruptcy Court on

the Petition Date, and (b) the proposed Disclosure Statement for Joint Chapter 11 Plan of

Reorganization of Phoenix Services Topco, LLC, and Its Debtor Affiliates (Docket No. 680) (as

may be amended, modified, or supplemented, the “Proposed Disclosure Statement”) filed with

the Bankruptcy Court contemporaneously herewith and incorporated herein by reference.




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     Capitalized terms used but not otherwise defined herein shall have the respective meanings ascribed to such
     terms in the First Day Declaration or the Proposed Disclosure Statement, as applicable.


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                                               Jurisdiction

                    4.     The Bankruptcy Court has jurisdiction to consider this matter pursuant to

28 U.S.C. §§ 157 and 1334, and the Amended Standing Order of Reference from the United States

District Court for the District of Delaware, dated February 29, 2012. This is a core proceeding

pursuant to 28 U.S.C. § 157(b). Venue is proper before the Bankruptcy Court pursuant to 28

U.S.C. §§ 1408 and 1409.

                    5.     Pursuant to Local Rule 9013-1(f), the Debtors consent to the entry of a final

order by the Bankruptcy Court in connection with this Motion to the extent that it is later

determined that the Bankruptcy Court, absent consent of the parties, cannot enter final orders or

judgments consistent with Article III of the United States Constitution.

                                            Relief Requested

                    6.     By this Motion, pursuant to sections 341, 502, 1125, 1126, 1128, and 105

of the Bankruptcy Code, Rules 2002, 3003, 3017, 3020, and 9006 of the Bankruptcy Rules and

Rules 2002-1, 3017-1, and Local Rule 9006-1, the Debtors request entry of an order:

        i.          approving the form and manner of notice and hearing to consider the Proposed
                    Disclosure Statement;

       ii.          approving the Proposed Disclosure Statement as containing adequate information
                    pursuant to section 1125 of the Bankruptcy Code;

      iii.          scheduling a hearing (the “Confirmation Hearing”) to consider confirmation of
                    the proposed Joint Chapter 11 Plan of Reorganization of Phoenix Services Topco,
                    LLC, and Its Debtor Affiliates (as may be amended, modified, or supplemented,
                    the “Proposed Plan”) filed with the Bankruptcy Court contemporaneously
                    herewith;

      iv.           approving the below described solicitation procedures for the Proposed Plan; and

       v.           approving the below described confirmation procedures for the Proposed Plan.

                    7.     A proposed form of order granting the relief requested herein is annexed

hereto as Exhibit A (the “Proposed Order”).


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      For the Bankruptcy Court’s convenience, the below chart provides the key dates sought
                                 pursuant to the Proposed Order

 Voting Record Date                                 May 4, 2023
                                                    May 9, 2023 at 3:00 p.m. (prevailing
 Disclosure Statement Hearing
                                                    Eastern Time)
                                                    The date that is 3 Business Days following
 Solicitation Date                                  entry of the Proposed Order (expected to
                                                    be May 12)
 Plan Supplement Filing                             June 2, 2023
                                                    June 9, 2023 at 4:00 p.m. (prevailing
 Voting Deadline
                                                    Eastern Time)
                                                    June 9, 2023 at 4:00 p.m. (prevailing
 Plan Confirmation Objection Deadline
                                                    Eastern Time)
 Deadline to File (a) Reply to Plan
 Objection(s), (b) Brief in Support of Plan         June 14, 2023 at 12:00 p.m. (prevailing
 Confirmation, (c) Declarations in Support of       Eastern Time)
 Confirmation, and (d) Voting Certification

                                                    June 16, 2023 (subject to the Bankruptcy
 Confirmation Hearing
                                                    Court’s calendar)




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                    8.    For the Bankruptcy Court’s further reference, the Debtors provide below a

list of the various exhibits and documents cited throughout the Motion:


                          Document                                         Exhibit
 Proposed Plan                                               (Docket No. 677)

 Proposed Disclosure Statement                               (Docket No. 680)

 Disclosure Statement Notice                                 (Docket No. 681)

 Proposed Order                                              Exhibit A to this Motion

 Confirmation Hearing Notice                                 Exhibit 1 to the Proposed Order

 Form Ballot                                                 Exhibit 2 to the Proposed Order

 Notice of Non-Voting Status – Unimpaired Classes            Exhibit 3 to the Proposed Order

 Notice of Non-Voting Status – Impaired Classes              Exhibit 4 to the Proposed Order


                                 The Proposed Disclosure Statement

                    9.    Under section 1125 of the Bankruptcy Code and Bankruptcy Rule 3016(b),

the Debtors prepared and filed the Proposed Disclosure Statement to provide parties adequate

information and disclosure regarding the terms of the Proposed Plan. The Debtors intend to

provide parties with copies of the Proposed Disclosure Statement, once approved, in connection

with the Debtors’ solicitation of votes to accept or reject the Proposed Plan.

I.       Approval of the Disclosure Statement

                    10.   Pursuant to section 1125(b) of the Bankruptcy Code, a plan proponent must

provide holders of impaired claims and equity interests with “adequate information” regarding a

proposed chapter 11 plan of reorganization. Section 1125(a)(1) of the Bankruptcy Code defines

“adequate information” as:




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                    information of a kind, and in sufficient detail, as far as is reasonably
                    practicable in light of the nature and history of the debtor and the
                    condition of the debtor’s books and records, including a discussion
                    of the potential material Federal tax consequences of the plan to the
                    debtor, any successor to the debtor, and a hypothetical investor
                    typical of the holders of claims or interests in the case, that would
                    enable such a hypothetical investor of the relevant class to make an
                    informed judgment about the plan.

11 U.S.C. § 1125(a)(1).

                    11.    Accordingly, a debtor’s disclosure statement must provide sufficient

information to permit an informed judgment by impaired creditors entitled to vote on the plan.

See, e.g., Century Glove, Inc. v. First Am. Bank of N.Y., 860 F.2d 94, 100 (3d Cir. 1988) (“[Section]

1125 seeks to guarantee a minimum amount of information to the creditor asked for its vote.”);

In re Phoenix Petroleum, Co., 278 B.R. 385, 392 (Bankr. E.D. Pa. 2001) (“[T]he general purpose

of the disclosure statement is to provide ‘adequate information’ to enable ‘impaired’ classes of

creditors and interest holders to make an informed judgment about the proposed plan and

determine whether to vote in favor of or against that plan.”). The essential requirement of a

disclosure statement is that it “‘clearly and succinctly inform the average unsecured creditor what

it is going to get, when it is going to get it, and what contingencies there are to getting its

distribution.’” In re Keisler, No. 08-34321, 2009 WL 1851413, at *4 (Bankr. E.D. Tenn. June 29,

2009) (quoting In re Ferretti, 128 B.R. 16, 19 (Bankr. D.N.H. 1991)).

                    12.    Whether a disclosure statement required under section 1125(b) contains

adequate information “is not governed by any otherwise applicable nonbankruptcy law, rule, or

regulation.” 11 U.S.C. § 1125(d). Instead, bankruptcy courts have broad discretion to determine

the adequacy of the information contained in a disclosure statement. See, e.g., In re Lisanti Foods,

Inc., 329 B.R. 491, 507 (D.N.J. 2005) (“Section 1125 affords the Bankruptcy Court substantial

discretion in considering the adequacy of a disclosure statement.” (citing In re River Village


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Assoc., 181 B.R. 795, 804 (E.D. Pa. 1995)); In re Phoenix Petroleum Co., 278 B.R. at 393 (noting

that the determination of what is adequate information is “largely within the discretion of the

bankruptcy court” (quoting Texas Extrusion Corp. v. Lockheed Corp. (In re Texas Extrusion

Corp.), 844 F.2d 1142, 1157 (5th Cir. 1988)). Congress granted bankruptcy courts such wide

discretion in determining the adequacy of a disclosure statement to facilitate effective

reorganizations of debtors in a broad range of businesses, taking into account the various

circumstances that accompany chapter 11 cases. See H.R. Rep. No. 595, 95th Cong., 1st Sess.

408–09 (1977); see also In re Copy Crafters Quickprint Inc., 92 B.R. 973, 979 (Bankr. N.D.N.Y.

1988) (noting that the adequacy of a disclosure statement “is to be determined on a case-specific

basis under a flexible standard that can promote the policy of Chapter 11 towards fair settlement

through a negotiation process between informed interested parties”).                  Accordingly, the

determination of whether a disclosure statement contains adequate information is made on a case-

by-case basis, focusing on the unique facts and circumstances of each case. See Oneida Motor

Freight, Inc. v. United Jersey Bank, 848 F.2d 414, 417 (3d Cir. 1988) (“From the legislative history

of § 1125 we discern that adequate information will be determined by the facts and circumstances

of each case.”).

                    13.    In that regard, in determining whether a disclosure statement contains

adequate information, courts generally examine a list of factors, including, but not limited to,

whether the disclosure statement contains the following types of information, as applicable:

                    a) the circumstances that gave rise to the filing of the bankruptcy petition;

                    b) an explanation of the available assets and their value;

                    c) the anticipated future of the debtor(s);

                    d) the source of the information provided in the disclosure statement;




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                    e) a disclaimer, which typically indicates that no statements or information
                       concerning the debtor or its assets or securities are authorized, other than those
                       set forth in the disclosure statement;

                    f) the condition and performance of the debtor while in chapter 11;

                    g) information regarding claims against the estate;

                    h) a liquidation analysis setting forth the estimated return that creditors would
                       receive under chapter 7;

                    i) the accounting and valuation methods used to produce the financial information
                       in the disclosure statement;

                    j) information regarding the future management of the debtor, including the
                       amount of compensation to be paid to any insiders, directors and/or officers of
                       the debtor;

                    k) a summary of the plan of reorganization or liquidation;

                    l) an estimate of all administrative expenses, including attorneys’ fees and
                       accountants’ fees;

                    m) the collectability of any accounts receivable;

                    n) any financial information, valuations, or pro forma projections that would be
                       relevant to creditors’ determinations of whether to accept or reject the plan;

                    o) information relevant to the risks being taken by the creditors and interest
                       holders;

                    p) the actual or projected value that can be obtained from avoidable transfers;

                    q) the existence, likelihood, and possible success of non-bankruptcy litigation;

                    r) the tax consequences of the plan; and

                    s) the relationship of the debtor with its affiliates.

See, e.g., In re Scioto Valley Mortg. Co., 88 B.R. 168, 170–71 (Bankr. S.D. Ohio 1988); see also

In re Oxford Homes, Inc., 204 B.R. 264, 269 n.17 (Bankr. D. Me. 1997) (using a similar list). Such

a list is not meant to be comprehensive and a debtor is not required to provide all the information

on the list. Rather, the bankruptcy court must decide what is appropriate in each case in light of

the particular facts and circumstances present. See Ferretti, 128 B.R. at 18–19 (adopting a similar


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list); see also In re Phoenix Petroleum Co., 278 B.R. at 393 (making use of a similar list but

cautioning that “no one list of categories will apply in every case”).

                    14.   The Proposed Disclosure Statement provides many of the types of

information identified in the applicable categories above, including:

                    a)    an overview of the Proposed Plan (§ I);

                    b)    key events leading to the commencement of the Debtors’ chapter 11 cases
                          (§ III.A);

                    c)    the operation of the Debtors’ businesses (§ II.B);

                    d)    the indebtedness of the Debtors and information regarding pending
                          claims (§ II.D);

                    e)    a disclaimer, which indicates that no statements or information concerning
                          the Debtors or their assets or securities are authorized, other than those set
                          forth in the Proposed Disclosure Statement (pp. iii-iv);

                    f)    an overview of a liquidation analysis under chapter 7 (§ XI.C);

                    g)    risk factors affecting the Debtors (§ VIII);

                    h)    the relationship of the Debtors with their affiliates (§ II.A);

                    i)    requirements for confirmation of the Proposed Plan (§ X.C); and

                    j)    tax consequences of the Proposed Plan (§ VII).

                    15.   In addition to the type of information that courts typically look for in a

disclosure statement, the Proposed Disclosure Statement provides an analysis of the alternatives

to confirmation and consummation of the Proposed Plan (§ XI).

                    16.   Based on the foregoing, the Debtors submit that the Proposed Disclosure

Statement contains sufficient information for a voting creditor to make an informed judgment

regarding whether to vote to accept or reject the Proposed Plan. Thus, the Debtors respectfully

request that the Bankruptcy Court approve the Proposed Disclosure Statement as containing

adequate information in satisfaction of the requirements of section 1125 of the Bankruptcy Code.


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II.      The Proposed Disclosure Statement Provides Adequate Notice of Release,
         Exculpation, and Injunction Provisions in the Proposed Plan

                   17.   Pursuant to Bankruptcy Rule 3016(c), “[i]f a plan provides for an injunction

against conduct not otherwise enjoined under the Code, the plan and disclosure statement shall

describe in specific and conspicuous language (bold, italic, or underlined text) all acts to be

enjoined and identify the entities that would be subject to the injunction.” Fed. R. Bankr.

P. 3016(c).

                   18.   The Proposed Plan includes injunctions, releases, and exculpations

highlighted in bold in Article X. The Proposed Disclosure Statement in section V.H.vi.(a)-(b)

describes in detail the releases provided under the Proposed Plan, the entities providing such

releases, the entities being released, and the Claims and Causes of Action so released.

Additionally, section V.H.vii of the Proposed Disclosure Statement sets forth the terms of the

exculpation provision under the Proposed Plan, and section V.H.v.(a)-(c) sets forth the injunction

related to the release and exculpation provisions in the Proposed Plan. Each of the foregoing

sections is set forth in conspicuous, bold print. Accordingly, the Debtors respectfully submit that

the Proposed Disclosure Statement complies with Bankruptcy Rule 3016(c).

III.     Approval of the Notice of Disclosure Statement Hearing

                   19.   In accordance with Bankruptcy Rules 3017(a) and 2002 and Local Rule

3017-1, in connection with the filing of this Motion, the Debtors have already served a notice of

the hearing to consider approval of the Proposed Disclosure Statement (Docket No. 681)

(the “Disclosure Statement Notice”) by electronic transmission and/or by first class mail

on: (a) the U.S. Trustee (Attn: Linda J. Casey, Esq.); (b)(i) Squire Patton Boggs (US) LLP, 1211

Avenue of the Americas, 26th Floor, New York, New York 10036 (Attn: Stephen D. Lerner, Esq.,

Norman N. Kinel, Esq., and Travis A. McRoberts, Esq.), and (ii) Cole Schotz P.C., 500 Delaware


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Avenue, Suite 1410, Wilmington, Delaware 19801 (Attn: Justin R. Alberto, Esq., Patrick J.

Reilley, Esq., and Michael E. Fitzpatrick, Esq.), as co-counsel to the Creditors’ Committee;

(c)(i) Gibson, Dunn & Crutcher LLP, 200 Park Avenue, New York, New York 10166 (Attn: Scott

J. Greenberg, Esq., Steven A. Domanowski, Esq., Matthew J. Williams, Esq., and Jason Zachary

Goldstein, Esq.), and (ii) Pachulski Stang Ziehl & Jones LLP, 919 N. Market Street, 17th Floor,

P.O. Box 8705, Wilmington, Delaware 19899 (Attn: Laura Davis Jones, Esq.), as co-counsel to

the Ad Hoc Group; (d) Akin Gump Strauss Hauer & Feld LLP, One Bryant Park, New York, New

York 10036 (Attn: Ira Dizengoff, Esq. and James Savin, Esq.), as counsel to Apollo Global

Management, Inc.; (e) Davis Polk & Wardwell LLP, 450 Lexington Avenue, New York, New

York 10017 (Attn: Brian M. Resnick, Esq. and Jonah A. Peppiatt, Esq.), as counsel to the First

Lien Agent; (f) any other party entitled to notice pursuant to Bankruptcy Rule 2002; and (g) all

other parties identified on the Debtors’ creditor matrix.

                   20.   In addition, the Debtors will provide, by electronic and/or first class mail,

copies of the Proposed Disclosure Statement and the Proposed Plan with the Disclosure Statement

Notice to: (a) the United States Attorney’s Office for the District of Delaware; (b) the Securities

and Exchange Commission; (c) all parties that request or that are required to receive notice

pursuant to Bankruptcy Rule 2002; and (d) all parties who have specifically requested such

documents in the manner specified in the Disclosure Statement Notice. Copies of the Proposed

Disclosure Statement and the Proposed Plan are also available free-of-charge on the Debtors’

claims agent’s website at https://cases.stretto.com/phoenix.

                   21.   The Debtors submit that the foregoing provided adequate notice of the

Disclosure Statement Hearing and the deadline to object to approval of the Disclosure Statement




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for all purposes and, accordingly, request that the Bankruptcy Court approve such procedures as

adequate.

                                   The Solicitation Procedures

                   22.   In connection with the Proposed Disclosure Statement and Proposed Plan,

the Debtors propose to implement the solicitation and balloting procedures described below. The

Bankruptcy Court entered an Order authorizing the Debtors to retain and employ Stretto, Inc.

(“Stretto”) as the Debtors’ claims and noticing agent on September 28, 2022 (Docket No. 55).

The Bankruptcy Court entered an Order authorizing the Debtors to retain and employ Stretto as

the Debtors’ administrative advisor on October 25, 2022 (Docket No. 182).

                                      Parties Entitled to Vote

                   23.   On October 25, 2022, the Bankruptcy Court entered an order (see Docket

No. 193) approving (a) 5:00 p.m., prevailing Eastern Time, on the first business day that is thirty

five (35) days after five (5) business days following the Debtors’ filing of their schedules of assets

and liabilities and statements of financial affairs (collectively, the “Schedules”) as the deadline for

all non-governmental units (as defined in section 101(27) of the Bankruptcy Code) to file proofs

of claim in the Chapter 11 Cases (the “General Bar Date”); (b) March 27, 2023, at 5:00 p.m.,

prevailing Eastern Time, as the deadline for all governmental units (as defined in section 101(27)

of the Bankruptcy Code) to file proofs of claim in the Chapter 11 Cases (the “Governmental Bar

Date”); (c) the later of (i) the General Bar Date or the Governmental Bar Date, as applicable, and

(ii) 5:00 p.m., prevailing Eastern Time, on the date that is thirty (30) days from the date on which

the Debtors provide notice of an amendment or supplement to the Schedules as the deadline by

which persons or entities affected by such amendment or supplement must file proofs of claim in

the Chapter 11 Cases; and (d) the later of (i) the General Bar Date or the Governmental Bar Date,

as applicable, and (ii) 5:00 p.m., prevailing Eastern Time, on the date that is thirty (30) days

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following the entry of an order approving rejection of any executory contract or unexpired lease

of the Debtors as the deadline by which persons or entities asserting claims resulting from such

rejection must file proofs of claim in the Chapter 11 Cases.

                   24.      On November 28, 2022, the Debtors filed their Schedules (Docket

Nos. 280-297). The General Bar Date therefore expired at 5:00 p.m., prevailing Eastern Time, on

January 9, 2023. The Governmental Bar Date expired at 5:00 p.m., prevailing Eastern Time, on

March 27, 2023.

                   25.      The following class (the “Voting Class”) is impaired but entitled to receive

distributions under the Proposed Plan and, thus, may vote to accept or reject the Proposed Plan,

subject to certain exceptions discussed below:

                         Class                            Description
                         Class 3                 Prepetition Lender Claims

                   26.      Section 1126(f) of the Bankruptcy Code provides that, for the purposes of

soliciting votes on confirmation of a plan of reorganization, “a class that is not impaired under a

plan, and each holder of a claim or interest of such class, are conclusively presumed to have

accepted the plan, and solicitation of acceptances with respect to such class from the holders of

claims or interests of such class is not required.” 11 U.S.C. § 1126(f).

                   27.      The Proposed Plan does not impair certain Claims and Interests. Pursuant

to section 1126 of the Bankruptcy Code, the holders of such Claims and Interests are unimpaired

and, therefore, presumed to accept the Proposed Plan pursuant to section 1126(f) of the Bankruptcy

Code. Moreover, certain classes are impaired and otherwise not entitled to receive a distribution

under the Proposed Plan and, therefore, deemed to reject pursuant to section 1126(g) of the

Bankruptcy Code (collectively, the “Non-Voting Creditors and Interest Holders”). Holders of



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Claims and/or Interests in the following classes (collectively, the “Non-Voting Classes”)

constitute Non-Voting Creditors and Interest Holders who are not entitled to vote:

    Class                      Description                   Impairment      Acceptance / Rejection
                                                                               Not Entitled to Vote
   Class 1               Priority Non-Tax Claims             Unimpaired
                                                                              (Presumed to Accept)
                                                                               Not Entitled to Vote
   Class 2                 Other Secured Claims              Unimpaired
                                                                              (Presumed to Accept)
                                                                               Not Entitled to Vote
   Class 4               General Unsecured Claims              Impaired
                                                                               (Deemed to Reject)
                                                                                Not Entitled to Vote
                                                            Unimpaired or
   Class 5                 Intercompany Claims                                (Presumed to Accept or
                                                              Impaired
                                                                                Deemed to Reject)
                                                                                Not Entitled to Vote
                                                            Unimpaired or
   Class 6                Intercompany Interests                              (Presumed to Accept or
                                                              Impaired
                                                                                Deemed to Reject)
                                                                               Not Entitled to Vote
   Class 7               Existing Equity Interests             Impaired
                                                                               (Deemed to Reject)

                   28.      Claims or Interests in Class 1 (Priority Non-Tax Claims), Class 2 (Other

Secured Claims), Class 5 (Intercompany Claims), and Class 6 (Intercompany Interests) are, or may

be, unimpaired (the holders of such claims, collectively, the “Unimpaired Non-Voting

Holders”). Accordingly, pursuant to section 1126(f) of the Bankruptcy Code, the Unimpaired

Non-Voting Holders are, or may be, conclusively deemed to have accepted the Proposed Plan and,

thus, are not entitled to vote. The Debtors propose to send to the Unimpaired Non-Voting Holders

a notice of non-voting status, substantially in the form annexed to the Proposed Order as Exhibit 3

(“Notice of Non-Voting Status – Unimpaired Classes”) and the Confirmation Hearing Notice

(as defined below).

                   29.      Claims in Class 4 (General Unsecured Claims), Class 5 (Intercompany

Claims), Class 6 (Intercompany Interests), and Class 7 (Existing Equity Interests) are, or may be,

impaired and holders thereof shall neither receive nor retain any property under the Proposed Plan

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(such holders, collectively, the “Impaired Non-Voting Holders”). Accordingly, pursuant to

section 1126(g) of the Bankruptcy Code, the Impaired Non-Voting Holders are conclusively

deemed to have rejected the Proposed Plan and, thus, are not entitled to vote. The Debtors propose

to send to the Impaired Non-Voting Holders a notice of non-voting status, substantially in the form

annexed to the Proposed Order as Exhibit 4 (“Notice of Non-Voting Status – Impaired

Classes”), the Confirmation Hearing Notice, and a USB flash driving containing the Proposed

Order, as entered by the Bankruptcy Court and without attachments, the Disclosure Statement (as

defined below), and the Proposed Plan.

I.       Calculation of Claims for Voting Purposes

                   30.   Pursuant to section 1126(a) of the Bankruptcy Code, the holder of an

“allowed” claim may accept or reject a chapter 11 plan. Under the Bankruptcy Code, a class

accepts a chapter 11 plan if (a) holders of two-thirds (2/3) in amount, and (b) with respect to

holders of claims, more than a majority in number of the allowed claims in such class (other than

those designated under section 1126(e) of the Bankruptcy Code) vote to accept the plan.

11 U.S.C. § 1126. Holders of claims or interests that fail to vote are not counted in determining

the thresholds for acceptance of the plan.

                   31.   Pursuant to the DIP Order, the Prepetition Lender Claims are deemed to

constitute Allowed Claims. Solely for purposes of voting to accept or reject the Proposed Plan

and not for the purpose of the allowance of, or distribution on account of, a Claim, each Claim in

the Voting Class shall be equal to the amount of such Claim as set forth in the register of holders

as maintained by Barclays Bank, PLC, as administrative agent under the Prepetition Credit

Agreement (the “Prepetition First Lien Administrative Agent”). Such register must be provided

by the Prepetition First Lien Administrative Agent to the Debtors in electronic Microsoft Excel



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format no later than two (2) business days following the Voting Record Date, and must include

account holders’ names, mailing addresses, and amounts held as of the Voting Record Date.

                   32.   The Debtors believe that the foregoing proposed procedures provide for a

fair and equitable voting process.

II.      The Voting Record Date

                   33.   Bankruptcy Rule 3017(d) provides, in relevant part, that, for the purposes

of soliciting votes in connection with the confirmation of a plan of reorganization, “creditors and

equity security holders [must] include holders of stock, bonds, debentures, notes and other

securities of record on the date the order approving the disclosure statement is entered or another

date fixed by the court, for cause, after notice and a hearing.” Fed. R. Bankr. P. 3017(d).

                   34.   To identify and set the universe of creditors entitled to vote on the Proposed

Plan, the Debtors request that the Bankruptcy Court set May 4, 2023 as the date for determining

which creditors are entitled to vote on the Proposed Plan (the “Voting Record Date”). With

respect to transfers of Claims filed pursuant to Bankruptcy Rule 3001(e), the transferee shall be

entitled to receive a Solicitation Package and, if the holder of such Claim is entitled to vote with

respect to the Proposed Plan, cast a Ballot on account of such Claim only if: (a) all actions

necessary to transfer such Claim are completed by the Voting Record Date; or (b) the transferee

files by the Voting Record Date (i) all documentation required by Bankruptcy Rule 3001(e) to

evidence the transfer and (ii) a sworn statement of the transferor supporting the validity of the

transfer. In the event a Claim is transferred after the Voting Record Date, the transferee of such

Claim shall be bound by any vote on the Proposed Plan made by the holder of such Claim as of

the Voting Record Date.




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                   35.    In addition, the Debtors request that the Bankruptcy Court establish the

Voting Record Date as the date for determining which creditors and Interest holders in Non-Voting

Classes are entitled to receive a Notice of Non-Voting Status. The Debtors believe that the Voting

Record Date is appropriate, as it facilitates the determination of which creditors are entitled to vote

on the Proposed Plan or, in the case of Non-Voting Creditors and Interest Holders, to receive the

applicable Notice of Non-Voting Status.

III.     Approval of Solicitation Packages and Procedures for Distribution Thereof

                   36.    Bankruptcy Rule 3017(d) lists the materials that must be provided to holders

of Claims and Interests for the purpose of soliciting votes on a chapter 11 plan and providing

adequate notice of the hearing to consider confirmation thereof. Specifically, Bankruptcy Rule

3017(d) provides, in relevant part, that:

                   [u]pon approval of a disclosure statement, — except to the extent
                   that the court orders otherwise with respect to one or more
                   unimpaired classes of creditors or equity security holders — the
                   debtor in possession, trustee, proponent of the plan, or clerk as the
                   court orders shall mail to all creditors and equity security holders,
                   and in a chapter 11 reorganization case shall transmit to the United
                   States trustee:

                   (a)    the plan or a court-approved summary of the plan;

                   (b)    the disclosure statement approved by the court;

                   (c)    notice of the time within which acceptances and rejections
                          of the plan may be filed; and

                   (d)    any other information as the court may direct, including any
                          court opinion approving the disclosure statement or a court-
                          approved summary of the opinion.

Fed. R. Bankr. P. 3017(d).

                   37.    The Debtors propose to mail or cause to be mailed solicitation packages

(the “Solicitation Packages”) containing the information described below as soon as practicable



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after entry of an order approving the Proposed Disclosure Statement (as approved, the “Disclosure

Statement”) as containing adequate information pursuant to section 1125 of the Bankruptcy Code,

but not later than three (3) business days after the date of entry of an order approving the Disclosure

Statement (the “Solicitation Date”), to the U.S. Trustee and holders of Claims in the Voting Class,

as required by Bankruptcy Rule 3017(d).

                   38.   In accordance with Bankruptcy Rule 3017(d), Solicitation Packages shall

contain copies of:

                   (a)   the Notice of (I) Approval of Disclosure Statement (II) Establishment of
                         Voting Record Date, (III) Hearing on Confirmation of the Proposed Plan,
                         (IV) Procedures for Objecting to the Confirmation of the Proposed Plan,
                         and (V) Procedures and Deadline for Voting on the Proposed Plan, in
                         substantially the form of Exhibit 1 to the Proposed Order
                         (the “Confirmation Hearing Notice”);

                   (b)   a USB flash driving containing the Proposed Order, as entered by the
                         Bankruptcy Court and without attachments, the Proposed Plan and the
                         Disclosure Statement; and

                   (c)   if the recipient is entitled to vote on the Proposed Plan (as set forth herein),
                         a Ballot (as defined below) customized for such holder (if applicable) and
                         conforming to Official Bankruptcy Form No. B 314, in the form described
                         below, and a postage-prepaid return envelope.3

                   39.   The Proposed Plan and Disclosure Statement will be available at no charge

via the internet at https://cases.stretto.com/phoenix. Any creditor entitled to receive a copy of the

Proposed Plan and the Disclosure Statement may request an electronic copy on a USB flash drive

or paper copy by contacting Stretto in writing at Phoenix Services Balloting, c/o Stretto, 410

Exchange, Suite 100, Irvine, CA 92602, or by email to PhoenixInquiries@stretto.com. Upon

receipt of such request, the Debtors will provide such creditor or Interest holder with a paper copy




3
     Official Bankruptcy Form No. B 314 can be found at http://www.uscourts.gov/forms/bankruptcy-forms, the
     official website for the United States Bankruptcy Courts.


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of the Proposed Plan and the Disclosure Statement at no cost to the creditor or Interest holder

within five (5) days thereafter.

                   40.   The Debtors will not mail Solicitation Packages to creditors that have

Claims that have already been paid in full; provided, however, that if any such creditor would be

entitled to receive a Solicitation Package for any other reason, then the Debtors will send such

creditor a Solicitation Package in accordance with the procedures set forth herein.

                   41.   The Debtors anticipate that the United States Postal Service may return

some Solicitation Packages as undeliverable. The Debtors submit that it is costly and wasteful to

mail Solicitation Packages to the same addresses from which mail previously was returned as

undeliverable. Therefore, the Debtors request the Bankruptcy Court waive the strict notice rule

and excuse the Debtors from mailing Solicitation Packages to addresses from which the Debtors

received mailings returned as undeliverable, unless the Debtors are provided with a new mailing

address sufficiently before the Voting Deadline.

                   42.   The Debtors further request authority to make non-substantive changes to

the Disclosure Statement, the Proposed Plan, and related documents without further order of the

Bankruptcy Court, including ministerial changes to correct typographical and grammatical errors,

and to make conforming changes to the Proposed Disclosure Statement, the Proposed Plan, and

any other materials in the Solicitation Packages prior to mailing.

                   43.   The Debtors submit that they have shown good cause for implementing the

proposed notice and service procedures and requests the Bankruptcy Court’s approval thereof.

IV.      Approval of Notices of Non-Voting Status

                   44.   Bankruptcy Rule 3017(d) permits a court to order that the Proposed Plan

and Disclosure Statement need not be mailed to unimpaired classes. In lieu thereof, a bankruptcy



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court may order that “notice that the class is designated in the plan as unimpaired and notice of the

name and address of the person from whom the plan or summary of the plan and disclosure

statement may be obtained upon request and at the plan proponent’s expense, [and] notice of the

time fixed for filing objections to and the hearing on confirmation” be mailed to such classes.

                   45.   As discussed above, the Non-Voting Classes are either (a) unimpaired and

presumed to accept the Proposed Plan, or (b) impaired and deemed to reject the Proposed Plan.

Accordingly, the Debtors propose to mail: (i) the Confirmation Hearing Notice and the Notice of

Non-Voting Status – Unimpaired Classes to holders of Class 1 (Priority Non-Tax Claims), Class 2

(Other Secured Claims), Class 5 (Intercompany Claims), and Class 6 (Intercompany Interests);

and (ii) the Confirmation Hearing Notice, the Notice of Non-Voting Status – Impaired Classes,

and a USB flash drive containing the Proposed Order, as entered by the Bankruptcy Court and

without attachments, the Disclosure Statement, and the Proposed Plan to holders of Class 4

(General Unsecured Claims), Class 5 (Intercompany Claims), Class 6 (Intercompany Interests),

and Class 7 (Existing Equity Interests). The Debtors will also mail the Confirmation Hearing

Notice, and a USB flash drive containing the Proposed Disclosure Statement and the Proposed

Plan to the holders of unclassified Claims.

                   46.   Each Notice of Non-Voting Status provides (a) notice of the approval of the

Disclosure Statement, (b) notice of the filing of the Proposed Plan, (c) notice of the holder’s non-

voting status, and (d) information on how to obtain copies of the Disclosure Statement and

Proposed Plan.

                   47.   The Debtors submit that the above procedures satisfy the requirements of

Bankruptcy Rule 3017(d). Accordingly, the Debtors request that the Bankruptcy Court direct that

the Solicitation Package need not be mailed to Non-Voting Creditors and Interest Holders.



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V.       Approval of Forms of Ballots

                   48.   Bankruptcy Rule 3017(d) requires the Debtors to mail a form of ballot,

which substantially conforms to Official Bankruptcy Form No. B 314, to “creditors and equity

security holders entitled to vote on the plan.” Fed. R. Bankr. P. 3017(d). The Debtors propose to

distribute to holders of Claims in the Voting Class that are otherwise eligible to vote, ballots

substantially in the form attached to the Proposed Order as Exhibit 2 (collectively, the “Ballots”),

which are incorporated herein by reference. Although the Ballots are based on Official Bankruptcy

Form No. B 314, they have been modified to address the specific circumstances of these chapter

11 cases and to include certain additional information that the Debtors believe is relevant and

appropriate for the Voting Class.

VI.      The Voting Deadline

                   49.   Bankruptcy Rule 3017(c) provides that, “[o]n or before approval of [a]

disclosure statement, the court shall fix a time within which the holders of claims and interests

may accept or reject [a] plan . . . .” Fed. R. Bankr. P. 3017(c). The Debtors anticipate completing

substantially all mailing of the Solicitation Packages by the Solicitation Date. Based on such

schedule, the Debtors propose that, to be counted as a vote to accept or reject the Proposed Plan,

each Ballot must be properly executed, completed, and delivered to Stretto: (a) by first-class mail

(whether in the return envelope provided with each Ballot or otherwise); (b) by overnight courier;

by (c) by hand delivery or (d) via Stretto’s online balloting portal so that it is actually received by

Stretto no later than June 9, 2023 at 4:00 p.m. (the “Voting Deadline”). The Debtors submit that

the proposed [28-day] solicitation period is a sufficient period within which creditors can make an

informed decision whether to accept or reject the Proposed Plan.




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                   50.   In addition to accepting hard copy Ballots via first class mail, overnight

courier, and hand delivery, the Debtors request authorization to accept Ballots via electronic,

online transmissions, solely through a customized online balloting portal on the Debtors’ case

website to be maintained by Stretto (the “E-Ballot Portal”). Parties entitled to vote may cast an

electronic Ballot and electronically sign and submit the Ballot instantly by utilizing the E-Ballot

Portal (which allows a holder to submit an electronic signature). If applicable, instructions for

electronic, online transmission of Ballots will be set forth on the forms of Ballots. The encrypted

ballot data and audit trail created by such electronic submission shall become part of the record of

any Ballot submitted in this manner and the creditor’s electronic signature will be deemed to be

immediately legally valid and effective.

VII.     Tabulation Procedures

                   51.   In addition, the Debtors request that the following procedures apply to

tabulating Ballots:

                   (a)   Except as otherwise provided herein or unless waived by the Debtors or
                         permitted by order of the Bankruptcy Court, unless the Ballots being
                         furnished is timely submitted on or prior to the Voting Deadline, the Debtors
                         shall reject such Ballot as invalid and, therefore, decline to count it in
                         connection with confirmation of the Proposed Plan.

                   (b)   Whenever a holder of a Claim casts more than one Ballot voting the same
                         Claim(s) before the Voting Deadline, the last valid Ballot received on or
                         before the Voting Deadline shall be deemed to reflect such holder’s intent,
                         and thus, to supersede any prior Ballot.

                   (c)   Whenever a holder of a Claim casts a Ballot that is properly completed,
                         executed and timely returned to Stretto, but does not indicate either an
                         acceptance or rejection of the Proposed Plan, the Ballot will not be counted.

                   (d)   Whenever a holder of a Claim casts a Ballot that is properly completed,
                         executed, and timely returned to Stretto, but indicates both an acceptance
                         and a rejection of the Proposed Plan, the Ballot will not be counted.

                   (e)   A holder of a Claim in the Voting Class shall be deemed to have voted the
                         full amount of its Claim or Interest in such Class and shall not be entitled to

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                            split its vote. Any Ballot that partially accepts and partially rejects the
                            Proposed Plan will not be counted.

                   (f)      Whenever a holder of a Claim casts Ballots received by Stretto on the same
                            day, but which are voted inconsistently, such Ballots will not be counted.

                   (g)      The following Ballots shall not be counted:

                           i.         Any Ballot received after the Voting Deadline, unless the Debtors
                                      shall have granted an extension of the Voting Deadline in writing
                                      with respect to such Ballot;

                          ii.         Any Ballot that is illegible or contains insufficient information to
                                      permit the identification of the claimant or interest holder;

                         iii.         Any Ballot cast by a person or entity that does not hold a Claim in
                                      the Voting Class;

                         iv.          Any Ballot cast by a person who is not entitled to vote, even if such
                                      individual holds a Claim in the Voting Class;

                          v.          Any unsigned Ballot;

                         vi.          Any Ballot which the Bankruptcy Court determines, after notice and
                                      a hearing, that such vote was not solicited or procured in good faith
                                      or in accordance with the provisions of the Bankruptcy Code; or

                         vii.         Any Ballot transmitted to Stretto by means not specifically approved
                                      herein.

                   (h)         If a Ballot is being signed by a trustee, executor, administrator, guardian,
                               attorney in fact, officer of a corporation, or otherwise acting in a fiduciary
                               or representative capacity, such person should indicate such capacity when
                               signing and, if requested by Stretto, the Debtors, or the Bankruptcy Court,
                               must submit proper evidence to the requesting party to so act on behalf of
                               such holder. In addition, authorized signatories should provide their name
                               and mailing address if it is different from that set forth on the attached
                               mailing label or if no such mailing label is attached to the Ballot.

                   (i)         The Debtors, subject to contrary order of the Bankruptcy Court, may waive
                               any defect or irregularity as to any particular Ballot at any time, either
                               before or after the close of voting, and any such waiver shall be documented
                               in the voting certification filed by Stretto (the “Voting Certification”).

                   (j)         Neither the Debtors, nor any other Entity, will be under any duty to provide
                               notification of defects or irregularities with respect to delivered Ballots




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                         other than as provided in the Voting Certification, nor will any of them incur
                         any liability for failure to provide such notification.

                   (k)   Unless waived by the Debtors, subject to contrary order of the Bankruptcy
                         Court, any defects or irregularities in connection with deliveries of Ballots
                         must be cured prior to the Voting Deadline or such Ballots will not be
                         counted.

                   (l)   The Debtors are authorized to enter into stipulations or other agreements
                         with the holder of any Claim agreeing to the amount of a Claim for voting
                         purposes.

                   52.   To assist in the solicitation process, the Debtors request that the Bankruptcy

Court grant Stretto the authority to contact parties that submit incomplete or otherwise deficient

Ballots to make a reasonable effort to cure such deficiencies; provided, however, that Stretto is not

obligated to do so.

                                            Confirmation

I.       The Confirmation Hearing

                   53.   Bankruptcy Rule 3017(c) provides that, “[o]n or before approval of the

disclosure statement, the court shall . . . fix a date for the hearing on confirmation” of a chapter 11

plan. Fed. R. Bankr. P. 3017(c). Pursuant to Bankruptcy Rule 2002(b), creditors must receive at

least twenty-eight (28) days’ notice of a confirmation hearing. In accordance with these rules, and

in view of the Debtors’ proposed solicitation schedule outlined herein, the Debtors request that a

hearing on confirmation of the Proposed Plan (the “Confirmation Hearing”) be scheduled for

June 16, 2023, or on such date and time as is convenient to the Bankruptcy Court. The

Confirmation Hearing may be adjourned or continued from time to time without further notice

other than adjournments announced in open court or as indicated in any notice of agenda of matters

scheduled for hearing filed with the Bankruptcy Court. The Debtors request that the Bankruptcy

Court find that the proposed date for the Confirmation Hearing is in compliance with the




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Bankruptcy Rules and the Local Rules, and will enable the Debtors to pursue confirmation of the

Proposed Plan in a timely fashion.

II.      Objection Procedures

                   54.   Pursuant to Bankruptcy Rule 3020(b)(1), objections to confirmation of a

plan must be filed and served “within a time fixed by the court.” Bankruptcy Rule 2002(b)

provides that parties must receive at least twenty-eight (28) days’ notice of the deadline for filing

objections to confirmation. Accordingly, and in view of the Debtors’ proposed solicitation

schedule outlined herein, the Debtors propose June 9, 2023 at 4:00 p.m. (prevailing Eastern

Time) as the deadline to object or respond to confirmation of the Proposed Plan (the “Plan

Objection Deadline”).

                   55.   The Debtors request that objections and responses, if any, to confirmation

of the Proposed Plan: (a) be in writing; (b) conform to the Bankruptcy Rules and the Local Rules;

(c) set forth the name of the objecting party and the nature and amount of Claims or Interests held

or asserted by the objecting party against the Debtors’ estates or property; (d) provide the basis for

the objection and the specific grounds thereof; and (e) be filed, together with proof of service.

                   56.   The Debtors further request that registered users of the Bankruptcy Court’s

case filing system must electronically file their objections and responses. All other parties in

interest must file their objections and responses in writing with the United States Bankruptcy Court

Clerk’s Office, 824 Market Street, 3rd Floor, Wilmington, Delaware 19801.

                   57.   Any objection or response also must be served upon and received by the

Notice Parties no later than the Plan Objection Deadline. Pursuant to Bankruptcy Rule 3020(b),

“[i]f no objection is timely filed, the [C]ourt may determine that the plan has been proposed in




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good faith and not by any means forbidden by law without receiving evidence on such issues.”

Fed. R. Bankr. P. 3020(b)(2).

                   58.   The Debtors submit that, if there are objections to confirmation, it will assist

the Bankruptcy Court and may streamline the Confirmation Hearing if the Debtors file a reply to

any such objections. Accordingly, the Debtors request that they be authorized to file and serve a

reply to any such objections by June 14, 2023 at 12:00 p.m. (the “Reply Deadline”).

                   59.   The Debtors also request that the Bankruptcy Court establish the Reply

Deadline as the deadline for the Debtors to file their brief in support of confirmation of the

Proposed Plan, the Voting Certification and any affidavits or declarations in support of

confirmation of the Proposed Plan. In addition, the Debtors request that any party in interest be

permitted to file and serve a statement in support of confirmation of the Proposed Plan and/or reply

to any objection to confirmation of the Proposed Plan by the Reply Deadline.

                   60.   The Debtors respectfully request that the Bankruptcy Court approve the

procedures for filing objections to the Proposed Plan and replies thereto and find that such

procedures comply with Bankruptcy Rules 2002, 3017, and 3020.

III.     Confirmation Hearing Notice

                   61.   Pursuant to Bankruptcy Rule 3017(d), notice of a plan confirmation

objection deadline and hearing must be provided to all creditors and equity security holders in

accordance with Bankruptcy Rule 2002. Bankruptcy Rules 2002(b) and (d) require notice to all

creditors, indenture trustees, and equity security holders of the time set for filing objections to, and

the hearing to consider confirmation of a plan.

                   62.   In accordance with the foregoing, by no later than the Solicitation Date,

the Debtors propose to provide a copy of the Confirmation Hearing Notice setting forth, among



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other things, (a) the Voting Deadline; (b) the Plan Objection Deadline and procedures for filing

objections and responses to confirmation of the Proposed Plan; and (c) the time, date, and place

for the Confirmation Hearing, with service provided by electronic and/or first class mail on the

Notice Parties.

                   63.   The Debtors submit that the foregoing notice procedures comply with all

notice requirements under Bankruptcy Rules 3017(d) and 2002(b) and (d). Accordingly, the

Debtors request that the Bankruptcy Court find that such notice is due and proper and no further

notice is necessary. Moreover, Bankruptcy Rule 2002(l) permits the Bankruptcy Court to “order

notice by publication if it finds that notice by mail is impracticable or that it is desirable to

supplement notice.” Fed. R. Bankr. P. 2002(l). The Debtors propose to publish the Confirmation

Hearing Notice, with such modifications as the Debtors may deem appropriate for purposes of

publication (the “Publication Notice”), at least 28 days prior to the date of the Confirmation

Hearing, in the national edition of The New York Times and, in the Debtors’ discretion, such trade

or other local publications of general circulation as the Debtors shall determine. The Debtors

believe that publication of this notice will give sufficient notice of the Confirmation Hearing to

persons who do not otherwise receive notice by electronic or first class mail.

                                                Notice

                   64.   Notice of this Motion will be provided to: (a) the U.S. Trustee (Attn: Linda

J. Casey, Esq.); (b)(i) Squire Patton Boggs (US) LLP, 1211 Avenue of the Americas, 26th Floor,

New York, New York 10036 (Attn: Stephen D. Lerner, Esq., Norman N. Kinel, Esq., and Travis

A. McRoberts, Esq.), and (ii) Cole Schotz P.C., 500 Delaware Avenue, Suite 1410, Wilmington,

Delaware 19801 (Attn: Justin R. Alberto, Esq., Patrick J. Reilley, Esq., and Michael E. Fitzpatrick,

Esq.), as co-counsel to the Creditors’ Committee; (c) the Internal Revenue Service; (d) the United

States Attorney’s Office for the District of Delaware; (e)(i) Gibson, Dunn & Crutcher LLP, 200

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Park Avenue, New York, New York 10166 (Attn: Scott J. Greenberg, Esq., Steven A.

Domanowski, Esq., Matthew J. Williams, Esq., and Jason Zachary Goldstein, Esq.), and

(ii) Pachulski Stang Ziehl & Jones LLP, 919 N. Market Street, 17th Floor, P.O. Box 8705,

Wilmington, Delaware 19899 (Attn: Laura Davis Jones, Esq.), as co-counsel to the Ad Hoc Group;

(f) Akin Gump Strauss Hauer & Feld LLP, One Bryant Park, New York, New York 10036

(Attn: Ira Dizengoff, Esq. and James Savin, Esq.), as counsel to Apollo Global Management, Inc.;

(g) Davis Polk & Wardwell LLP, 450 Lexington Avenue, New York, New York 10017

(Attn: Brian M. Resnick, Esq. and Jonah A. Peppiatt, Esq.), as counsel to the First Lien Agent; and

(h) any other party entitled to notice pursuant to Bankruptcy Rule 2002 (collectively,

the “Notice Parties”). The Debtors respectfully submit that no further notice is required. No

previous request for the relief sought herein has been made by the Debtors to this or any other

court.

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                   WHEREFORE the Debtors respectfully request entry of the Proposed Order

granting the relief requested herein and such other and further relief as the Bankruptcy Court may

deem just and appropriate.

Dated: April 18, 2023
       Wilmington, Delaware

                                             /s/ Matthew P. Milana
                                             RICHARDS, LAYTON & FINGER, P.A.
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